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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

  IN RE:                                          §
                                                  §
  COTTER TOWER - OKLAHOMA, L.P.,                  §    CASE NO. 17-52844-CAG
                                                  §
  DEBTOR                                          §    CHAPTER 11

               REPORT OF SALE PURSUANT TO FED. R. BANKR. P. 6004(f)

  TO THE HONORABLE CRAIG A. GARGOTTA, UNITED STATES BANKRUPTCY JUDGE:

         Comes now, Cotter Tower-Oklahoma, L.P., the Debtor-in-possession (hereinafter

  “Debtor”), by and through its counsel of record, who files this Report of Sale Pursuant to Fed. R.

  Bankr. P. 6004(f), and would respectfully show unto the Court the following:

         1.      This Report is filed pursuant to Fed. R. Bankr. P. 6004(f).

         2.      On December 12, 2017, the Debtor filed a Voluntary Petition for Relief under

  Chapter 11 of Title 11, United States Code (the “Bankruptcy Code”).

         3.      On August 6, 2018, Debtor filed a Motion to Sell Property of the Estate Free and

  Clear of Liens, Claims, Encumbrances and Interests (the “Sale Motion”) [Doc. 82], concerning

  certain real property and improvements located at 100 N. Broadway Ave., Oklahoma City,

  Oklahoma (the “Property”). A hearing was held on the Sale Motion on August 15, 2018, and the

  Court approved the sale of the Property to BancFirst Corporation (“BancFirst”) via an Order

  entered on August 17, 2018 (the “Sale Order”) [Doc. 93].

         4.      On August 31, 2018, the sale authorized under the Sale Order closed escrow

  through American Eagle Title Group, LLC, located in Oklahoma City, Oklahoma.
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          5.    The information required by Fed. R. Bankr. P. 6004(f) for the sale is as follows:

                        Itemized Statement of Property Sold – See Exhibit “A”
                        Name of each purchaser: BF Tower, LLC
                        Price received: $21,000,000

          WHEREFORE, PREMISES CONSIDERED, Debtor files this Report in compliance with

  Fed. R. Bankr. P. 6004(f) and transmits the same to the United States Trustee as required by such

  Rule.



                                              Respectfully submitted,

                                              LAW OFFICE OF H. ANTHONY HERVOL
                                              4414 Centerview Drive, Suite 200
                                              San Antonio, Texas 78228
                                              (210) 522-9500
                                              (210) 522-0205 (Fax)


                                              By____/s/ H. Anthony Hervol_________________
                                                    H. Anthony Hervol
                                                    State Bar Number 00784264
                                                    Attorney for Debtor




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                                 CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the above and foregoing document has
  been served upon the parties listed below, by the methods indicated hereunder, on the _6th_ day
  of September, 2018.

  DEBTOR:
  Cotter Tower – Oklahoma, LP
  c/o Marcus P. Rogers, P.C.
  2135 E. Hildebrand
  San Antonio, Texas 78209
  Via Electronic Mail, with consent

  REQUESTING NOTICE:
  Steven R. Brook
  Langley & Banack, Inc.
  745 E Mulberry Ave, Ste 700
  San Antonio, TX 78212
  Counsel for Bank SNB, N.A.
  Via the Court’s ECF Filing System

  Ben Bingham
  Bingham & Lea, P.C.
  319 Maverick Street
  San Antonio, Texas 78212
  Counsel for Marcus P. Rogers,
  Independent Administrator of the Estate
  of James F. Cotter, deceased and
  Special Counsel for the Debtor
  Via the Court’s ECF Filing System

  Stephen J. Moriarty
  Fellers Snider Blankenship Bailey & Tippens, PC
  100 North Broadway Ave., Suite 1700
  Oklahoma City, OK 73102
  Via the Court’s ECF Filing System

  Larry G. Ball
  Hall, Estill, Hardwick, Gable, Golden & Nelson, P.C.
  100 North Broadway, Suite 2900
  Oklahoma City, OK 73102-8805
  Via the Court’s ECF Filing System



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  UNITED STATES TRUSTEE:
  Post Office Box 1539
  San Antonio, Texas 78295-1539
  Via the Court’s ECF Filing System



                                            _/s/ H. Anthony Hervol_________________
                                            H. Anthony Hervol




                                                                            Page -4-
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                                      Exhibit
                                         7 "A"
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